USCA11 Case: 22-13940    Document: 20     Date Filed: 02/22/2023   Page: 1 of 37



           IN THE UNITED STATES COURT OF APPEALS
                 FOR THE ELEVENTH CIRCUIT

                         Case No: 22-13940
                 _________________________________

                          EARLENE McBRIDE,

                            Appellant/Plaintiff,

                                    vs.

                        CARNIVAL CORPORATION,

                            Appellee/Defendant.
                 _________________________________

            Appeal from the United States District Court for the
                       Southern District of Florida
                    Case No. 1:16-cv-24894-CIV-DPG


            APPELLANT’S CORRECTED INITIAL BRIEF

                           Counsel for Appellant

                                              Of Counsel to

  Christopher J. Bailey, Esq.             BILLERA LAW, PLLC
  CJBailey@Bailey-Consulting.com          2201 NW Corporate Blvd
  Florida Bar No.: 42625                  Suite 200
  2700 SW 27th Avenue, Ste. 702           Boca Raton, FL 33431
  Coconut Grove, FL 33133-3058            Telephone: (561) 218-4639
  Phone: (305) 495-8514
 USCA11 Case: 22-13940       Document: 20      Date Filed: 02/22/2023   Page: 2 of 37


               CERTIFICATE OF INTERESTED PERSONS

      Appellant certifies that, to the best of her knowledge, the following is a

complete list of the trial judges, attorneys, persons, associations of persons, firms,

partnerships, or corporations having an interest in the outcome of the case or appeal:

      1.     Acuna, Krista Fowler (counsel for Defendant-Appellee).

      2.     Bailey, Christopher John (counsel for Plaintiff-Appellant).

      3.     Becerra, Jacqueline (U.S. District Court Magistrate Judge).

      4.     Billera, John F. (counsel for Plaintiff-Appellant).

      5.     Billera Law, PLLC (counsel for Plaintiff-Appellant).

      6.     Carnival Corporation [“CCL”] (Defendant-Appellee).

      7.     Colangelo-Trenner, Zak (counsel for Appellee).

      8.     Dono, Michael John (counsel for Appellee).

      9.     Evans, Mrs. Alicia (interested person).

      10.    Gayles, Darrin P. (U.S. District Court Judge).

      11.    Gutwein, Evan Seth (counsel for Defendant-Appellee).

      12.    Hamilton, Jerry D. (counsel for Defendant-Appellee).

      13.    Hamilton, Miller & Birthisel LLP (counsel for Defendant-Appellee).

      14.    King, James Lawrence (U.S. District Court Judge).

      15.    Madalon, Joseph Charles (counsel for Plaintiff-Appellant).

                                         C-1
USCA11 Case: 22-13940    Document: 20     Date Filed: 02/22/2023   Page: 3 of 37



    16.   Madalon Law Firm LLC (counsel for Plaintiff-Appellant).

    17.   McBride, Earlene (Plaintiff-Appellant).

    18.   Nautilus Insurance Company (interested entity).

    19.   Simonton, Andrea M. (U.S. District Court Magistrate Judge)

    20.   SMS International Shore Operations US, Inc. (interested party).

    21.   Sullivan, Elisha M. (counsel for Defendant-Appellee).

    22.   Torres, Edwin G. (U.S. District Court Magistrate Judge).




                                    C-2
USCA11 Case: 22-13940   Document: 20   Date Filed: 02/22/2023   Page: 4 of 37



           STATEMENT REGARDING ORAL ARGUMENT

    Appellant EARLENE McBRIDE respectfully requests oral argument.




                                   i
USCA11 Case: 22-13940     Document: 20     Date Filed: 02/22/2023   Page: 5 of 37



                         TABLE OF CONTENTS

Statement Regarding Oral Argument……………………………………………….i

Table of Contents…………………………………………………………………..ii

Table of Citations………………………………………………………………….iv

Statement of Jurisdiction……………………………………………………..….viii

Statement of the Issues……………………………………………………………..1

  1. WHETHER THE TRIAL COURT ERRED IN ADMITTING THE

    DEPOSITION OF CHARLES FRITZ OVER APPELLANT’S OBJECTION

    WHEN APPELLEE HAD MADE NO EFFORT TO SATISFY RULE

    32(a)(4).

  2. WHETHER THE VERDICT IS INADEQAUTE AS AMATTER OF LAW,

    WARRANTING A NEW TRIAL.

Statement of the Case………………………………………………………………2

Summary of the Argument……………………………………………………..…12

Argument and Citations to Authority……………………………………………..13

    I.     Standards of Review……………………………………………...…13

    II.    Rule 32 Prohibited Reading Fritz Charles’s Deposition To the

           Jury…………………………………………………………...……..13

    III.   The Verdict Is Inadequate And Thus Requires A New Trial……….21

Conclusion………………………………………………………………………..25




                                      ii
USCA11 Case: 22-13940   Document: 20     Date Filed: 02/22/2023   Page: 6 of 37



Certificate of Compliance……………………………………………………….26




                                   iii
 USCA11 Case: 22-13940     Document: 20      Date Filed: 02/22/2023   Page: 7 of 37



                           TABLE OF CITATIONS

Caselaw

Aymes v. Auto. Ins. Co. of Hartford, Connecticut, 658 So. 2d 1246

      (Fla. 4th DCA 1995)…..……………………………………………………23

Auster Oil & Gas, Inc. v. Stream, 835 F.2d 597 (5th Cir.1988)…………………..13

Bolton v. WJV Mississippi, Inc., CIV.A. 08-0310-WS-M,

      2011 WL 482817 (S.D. Ala. Feb. 7, 2011).……………………..…………18

Broward County Sch. Bd. v. Dombrosky, 579 So.2d 748

      (Fla. 4th DCA 1991)…..……………………………………………………23

Burger King Corp. v. Mason, 710 F.2d 1480 (11th Cir.1983)……………………24

Cabello v. Fernandez-Larios, 402 F.3d 1148 (11th Cir. 2005)…………………...13

Collins v. Marriott Intern., Inc., 749 F.3d 951 (11th Cir. 2014)………………….24

Culebra II, LLC v. River Cruises & Anticipation Yachts, LLC,

      564 F. Supp. 2d 70 (D. Me. 2008)………..………………………………..16

Dimick v. Schiedt, 293 U.S. 474 (1935)…………………………………………..22

Estate of Thompson v. Kawasaki Heavy Indus., Ltd., 291 F.R.D. 297

      (N.D. Iowa 2013).………………………………………………………….14

Fairfield 274–278 Clarendon Trust v. Dwek, 970 F.2d 990 (1st Cir.1992)………16

Gasperini v. Ctr. for Humanities, Inc., 518 U.S. 415 (1996)……………………..22

Hagen v. Hatcher, 35 F.3d 563, 1994 WL 500641 (5th Cir. 1994)………………13




                                        iv
 USCA11 Case: 22-13940     Document: 20    Date Filed: 02/22/2023   Page: 8 of 37



Hamprecht v. Hamprecht, No. 2:12–cv–125–FTM–29,

      2012 WL 1367534 (M.D.Fla. Apr.19, 2012).……………………………...20

Hartman v. United States, 538 F.2d 1336 (8th Cir. 1976)...……………………...14

In re Transcon. Energy Corp., 683 F.2d 326 (9th Cir. 1982)……………………..16

Kraese v. Jialiang Qi, CV417-166, 2020 WL 4016250

      (S.D. Ga. July 16, 2020)…..……………………………………………16, 20

Kreitman v. Florida Dep't of Corr., 4:20CV371-MW/MJF,

      2020 WL 12188711 (N.D. Fla. Nov. 30, 2020)…………………………....15

McRay v. Peachey, CIV. A. 06-2794,

      2009 WL 249772 (E.D. La. Feb. 2, 2009)………………………………....23

Metcalf v. Campbell, 4:07CV73-RH/WCS,

      2008 WL 11463694 (N.D. Fla. Mar. 19, 2008)………………………...22-23

Millennium Partners, L.P. v. Colmar Storage, LLC,

      494 F.3d 1293 (11th Cir. 2007)………………………………………….…22

Nelson-Salabes, Inc. v. Morningside Development, LLC,

      284 F.3d 505 (4th Cir. 2002)……………………………………………….19

Niver v. Travelers Indem. Co. of Il., 430 F. Supp. 2d 852 (N.D. Iowa, 2006)……14

Rozar v. R. J. Reynolds Tobacco Co.,

      292 So. 3d 1202 (Fla. 1st DCA 2020)………………………………….21-22




                                       v
 USCA11 Case: 22-13940      Document: 20     Date Filed: 02/22/2023   Page: 9 of 37



Salomon Constr. & Roofing Corp. v. James McHugh Constr. Co.,

      1:18-CV-21733-UU, 2019 WL 2107283 (S.D. Fla. Mar. 21, 2019)……….14

Sanchez v. Hernandez, 971 So. 2d 944 (Fla. 3d DCA 2007)……………………..23

Santana v. Mack, 889 F. Supp. 223 (D.V.I. 1995)…………………………….16-17

Scott v. Sims, 874 So.2d 21 (Fla. 1st DCA 2004)…………………………………23

Sentry Indem. Co. v. Peoples, 856 F.2d 1479 (11th Cir. 1988)…………………...22

Southern States Rack & Fixture, Inc. v. Sherwin-Williams Co.,

      318 F.3d 592 (4th Cir. 2003)…………………………………………...18-19

Swearingen v. Gillar Home Health Care, L.P., 7

      759 F. App'x 322, 324 (5th Cir. 2019)………………………………….….16

United States v. Int'l Bus. Machines Corp., 90 F.R.D. 377 (S.D.N.Y. 1981)…….14

Watson v. Builders Square, Inc., 563 So. 2d 721 (Fla. 4th DCA 1990)……….24-25

Westminster Cmty. Care Services, Inc. v. Mikesell,

      12 So. 3d 838 (Fla. 5th DCA 2009)…………………………………….….23

White v. United States, 8:11-CV-1355-T-33EAJ,

      2013 WL 3422965 (M.D. Fla. July 8, 2013)………………………..……..16



Statutes

Fla. Stat. § 768.74(4)……………………………………………………………...23




                                        vi
USCA11 Case: 22-13940      Document: 20      Date Filed: 02/22/2023   Page: 10 of 37



Rules of Procedure

26(a)(3)(B)…………………………………………………………………….17, 18

Rule 32(a)(4)………………………………………………………...……….passim

Rule 37(c)(1)………………………………………………………………………18



Tertiary Sources

7 James Wm. Moore, Moore's Federal Practice § 32.24[5] (2006)……………...17

8A RICHARD L. MARCUS, FED. PRAC. & PROC. CIV. § 2146

      (3d ed. 2020)………………………………………………………………16

11 Charles Alan Wright et al., Federal Practice and Procedure: Civil § 2816

      (2d ed. 1995)…………………………………………………………….…23




                                       vii
USCA11 Case: 22-13940           Document: 20      Date Filed: 02/22/2023   Page: 11 of 37



                       STATEMENT OF JURISDICTION

      This Court is seized of jurisdiction under 28 U.S.C. § 1291 and Fed. R. App.

P. 4(a)(4), appellate jurisdiction for final judgments and denials of motions for new

trials under Fed. R. Civ. 59.




                                           viii
USCA11 Case: 22-13940   Document: 20       Date Filed: 02/22/2023   Page: 12 of 37



                    STATEMENT OF THE ISSUES

  1. WHETHER THE TRIAL COURT ERRED IN ADMITTING THE

    DEPOSITION OF CHARLES FRITZ OVER APPELLANT’S OBJECTION

    WHEN APPELLEE HAD MADE NO EFFORT TO SATISFY RULE

    32(a)(4).

  2. WHETHER THE VERDICT IS INADEQAUTE AS A MATTER OF LAW,

    WARRANTING A NEW TRIAL.




                                       1
USCA11 Case: 22-13940       Document: 20        Date Filed: 02/22/2023   Page: 13 of 37



                         STATEMENT OF THE CASE

      This appeal from an adverse judgement in a personal injury action turns on

two issues: duties imposed by Fed. R. Civ. P. 32; and a legally inadequate verdict.

      Appellant/Plaintiff EARLENE McBRIDE (“Ms. McBride”) is originally from

New York. [DE 280 at 28]. She spent 20 years providing mental and social care

services with the New York State Department of Mental Health. [DE 280 at 29].

Thereafter she retired, first to Pennsylvania and then to Florida in 2017, when she

married her wife, Alicia Evans. [DE 280 at 9, 20]. Over the course of her career she

earned a Bachelor's degree in Human Services and a Master's in Business; and at the

time of trial had 80 credits towards a Master's of Divinity. [DE 280 at 28]. She is

also a licensed minister. [DE 280 at 32].

      In November, 2015, while still living in Pennsylvania, she and her then fiancé

Alicia took a cruise aboard a ship owned by Appellee CARNIVAL

CORPORATION (“Carnival”). Ms. McBride was a large woman, weighing 310

pounds, a condition which sometimes caused numbness in her upper left thigh if she

remained standing for too long. [DE 280 at 14, 40; DE 281 at 164]. Given the

notorious embarkation and disembarkation lines for cruise ships, she asked to use a

wheelchair to board when the ship first sailed and to disembark when the ship

returned to Miami. [DE 280 at 14-15, 40-42]. However, she walked around the ship

with no problems and spent some ten hours walking around the Bahamas




                                            2
USCA11 Case: 22-13940       Document: 20       Date Filed: 02/22/2023   Page: 14 of 37



destinations of Nassau and Atlantis on the date during the cruise’s port day. [DE 280

at 14-15, 40-42].

      Her use of the wheelchair to disembark gave rise to the accident which forms

the basis of this personal injury litigation. The disembarkation gangway was

apparently somewhat labyrinthine, with ramps which descended, turns, and sections

which ascended. One such ascent ramp ended with a small bump or “gap” with the

adjoining floor. [DE 281 at 106]. Fritz Charles, the Carnival guest services assistant

pushing Ms. McBride, began “hurrying” or “running” up the ramp pushing her in

the wheelchair so as to clear the obstacle with speed. [DE 280 at 16, 46; DE 281 at

99]. The front wheels got stuck on the obstacle. [DE 281 at 104-05]. The wheelchair

had been moving so fast that Ms. McBride – at 310 pounds – continued up and out

of the wheelchair, landing on her knees and then her shoulder. [DE 280 at 16, 46;

DE 281 at 93, 96].

      The fall was so severe that Fritz Charles himself checked for blood while other

personnel on the scene called an ambulance. [DE 280 at 17, 47-48; DE 281 at 93,

94, 97, 98]. Ms. McBride was taken to Jackson Hospital in Miami by stretcher

complaining of bilateral knee and hip pain, back pain and shoulder pain. [DE 281 at

136-37]. Jackson x-rayed her knees but otherwise did not treat her other than to

recommend ice and heat; it did not perform any MRI’s or CAT scans. [DE 280 at

48; DE 281 at 136-37]. She was released and eventually returned to Pennsylvania,




                                           3
USCA11 Case: 22-13940       Document: 20       Date Filed: 02/22/2023   Page: 15 of 37



but still complained to her local doctors of right shoulder pain, low back pain,

bilateral knee pain and bilateral hip pain. [DE 280 at 50].

      Ms. McBride testified that her complaints continued in Pennsylvania but that

her doctors would refuse to consider any sources of her complaints besides her

weight and degenerative processes. [DE 280 at 50]. At one point she lost 87 pounds,

without any relief from her symptoms. [DE 280 at 54]. One doctor gave her physical

therapy and “injections” which did not help significantly. [DE 280 at 50, 53, 94].

Otherwise, the Pennsylvania doctors did not provide more in-depth treatment such

as physical neurological testing (e.g., a straight leg raise test); and they did not

prescribe MRI’s. [DE 279 at 10]. Ms. McBride suggested that the continued

emphasis on her weight was dehumanizing. [DE 280 at 67].

      Carnival’s ticket contract imposes a one-year time-for-suit limitation and a

Miami forum clause, so Ms. McBride filed suit in November, 2016 in the Southern

District of Florida (before she had completed any type of serious treatment). [DE 1].

As of June, 2017, she was living in Florida with Ms. Evans in Tampa. [DE 280 at

9, 99]. In November, 2017 she came under the care of orthopedic spine surgeon Dr.

Thomas Roush of West Palm Beach, Florida. [DE 279 at 6; DE 280 at 101].

      Dr. Roush undertook objective physical testing which was objectively

positive for injuries to the low back, both knees and right shoulder. [DE 279 at 8-

10]. He prescribed MRI’s for her knees, right shoulder and low back. [DE 279 at




                                           4
USCA11 Case: 22-13940        Document: 20       Date Filed: 02/22/2023   Page: 16 of 37



11-12]. These films confirmed bilateral torn menisci in her knees; a torn labrum in

her left hip; a torn rotator cuff in the right shoulder; and spondylolisthesis and a torn

intervertebral disc at the L5-S1 level causing bilateral encroachment on the sciatic

nerves to her legs. [DE 279 at 11-12]. Dr. Roush undertook treatment of the low

back and referred her to his colleague Frank McCormick for the knees, hips and

shoulder. [DE 279 at 22-23].

      In February 2018, Dr. Roush performed a series of surgical procedures

including a decompression of the L5-S1 disc and a fusion of the L5-S1 vertebrae

(“titanium expandable spacer with bone grafts, then posterior spinal fusion with the

screws and rods.”). [DE 279 at 17-19]. These procedures provided her a “very good

result” with her back and her leg and her buttock. [DE 279 at 19]. The total charges

for Dr. Roush’s services, the surgical clinics and hardware was $179,843.99. [DE

279 at 20].

      Dr. McCormack also recommended five (5) surgical interventions for Ms.

McBride: either an arthroscopic repair or joint replacement (patient’s choice) at the

right shoulder (at a cost of $45,000), each hip ($45,000-$50,000) and each knee

($45,000-$60,000). [DE 279 at 80]. Carnival obtained an order prohibiting Ms.

McBride from discussing any of her medical care after July 3, 2019 (the discovery

deadline), as of which time these surgeries had not been undertaken. [DE 288 at 15].




                                            5
USCA11 Case: 22-13940         Document: 20       Date Filed: 02/22/2023   Page: 17 of 37



         Though the case was originally assigned to the Honorable Judge Lawrence

King, late in 2021 it was transferred to the Honorable Darrin P. Gayles. [DE 225].

However, while the case was still pending before Judge King the parties had reached

an agreement regarding the deposition of Charles Fritz: if Carnival could not

secure his appearance at trial then the parties would read his deposition. [DE 272-

1, p. 3]. To that end the parties had submitted designations and counter designations

for his depositions, and objections to those depositions:

               MS. ACUNA [Carnival’s counsel]: If he does not
               appear, Your Honor. What we have proposed, Your
               Honor, is that if the witness, despite good service, does
               not appear, that the parties would stipulate using his
               designated testimony and we have, in fact, already filed
               those with the Court in the abundance of caution.

[DE 272-1, p. 3] (emphasis added).

         The case came on for a four-day trial commencing February 14, 2022.

Carnival admitted negligence but disputed the causation aspect of liability. [DE 288

at 132-33]. As will be shown below, Carnival’s defense would rely on the video-

taped deposition testimony of Charles Fritz.

         The second day of trial Ms. McBride sought to raise an objection to the use of

that deposition, but Judge Gayles indicated his preference to deal with that question

later:

               THE COURT: Okay. Are we ready to deal with the next
               witness?




                                             6
USCA11 Case: 22-13940        Document: 20       Date Filed: 02/22/2023   Page: 18 of 37



             MR. BILLERA: We are. Your Honor, there are a couple
             of preliminary things. I don't know if you want to deal
             with them. They are depositions of Fritz Charles, and
             there is three exhibits they listed that were objected to
             that we'd like to have heard at some point.

             THE COURT: We can do it later. Why don't we proceed
             with the testimony for now.

[DE 280 at 6]. That same evening the parties went through the textual objections to

the deposition designations which the parties had previously submitted and obtained

rulings from Judge Gayles. [DE 280 at 196-218]. Carnival never identified any

efforts to obtain service of a trial subpoena upon Mr. Fritz or otherwise indicated

that it had made any effort to obtain his appearance at trial - Ms. McBride never

agreed to use of the deposition without satisfaction of the parties’ stipulation and/or

Rule 32. [DE 280 at 196-218]. The subject simply never came up.

      Therefore, when Carnival asked to read the Fritz deposition the following day,

Ms. McBride objected. Carnival responded by misrepresenting to the Court that Ms.

McBride had stipulated unconditionally to the reading of the deposition and that such

an agreement was implicit in the fact that the parties had gone the textual objections.

Judge Gayles agreed without allowing further response from Ms. McBride:

             THE COURT:          So that leaves us now where as far as
             your witnesses?

             MS. ACUNA:          Is the video deposition.

             MR. BILLERA:        Your Honor, we object under Rule 32.




                                            7
USCA11 Case: 22-13940       Document: 20        Date Filed: 02/22/2023   Page: 19 of 37



             THE COURT:         I'm sorry?

             MR. BILLERA:       We object under Rule 32.

             THE COURT:         To the video deposition?

             MR. BILLERA:       Yes, sir.

             MS. ACUNA:          They previously stipulated to its use
             before Judge King on the transcript and we just went
             through all this exercise last night about objections to
             deposition designations.

             THE COURT:         You had cross-designations and
             you're now objecting to the use –

            MR. BILLERA: Yes, Your Honor. They can't bring
            him without first showing that they tried to subpoena him
            and he is not available. That's clear law and they have the
            burden of proof to show that before they call a video
            depo. The fact that we participated in amending this
            deposition, he is a witness. He is here in Miami. Did they
            subpoena him? If they did not, he doesn't testify by
            video. That's clear. Your Honor, I have the law.

            MS. ACUNA: They stipulated to the use of the
            deposition before Judge King. I am happy to take a
            moment to fine the transcript.

            THE COURT: It's not necessary. You will be able to use
            it. I wouldn't have spent an hour-plus yesterday going
            through that if it wasn't pretty clear from the record that
            the parties had agreed to use the deposition testimony.

[DE 281 at 61-62]. Thus was Carnival relieved of its obligations under both its

express stipulation and Rule 32 to demonstrate an exception to the rule against the

reading of hearsay depositions of non-party witnesses to a jury.




                                            8
USCA11 Case: 22-13940       Document: 20       Date Filed: 02/22/2023   Page: 20 of 37



      The Fritz deposition was significant because from opening argument onward

causation was Carnival’s only defense – it claimed that there was no evidence other

than Ms. McBride’s own word that her injuries arose from the accident:

             [R]eally one key, very important question that you will
             be answering that is the entire case from our perspective,
             and that is is [sic] there any evidence that the 2015
             wheelchair tip and fall was the cause of later treatment
             that occurred in 2017 and beyond. You will not hear
             evidence that the wheelchair incident caused treatment
             that occurred two plus years later. Without that
             fundamental evidence, it's our position you will be
             compelled to answer that very fundamental question, no.
             No, the incident did not cause the later treatment.

             Now, remember when it comes to the portion of the
             puzzle on that very fundamental question, when I say
             fundamental, it's -- in fact, once we get to that stage in
             the case and you hear the jury instructions from Judge
             Gayles, he's also going to then go through with you
             something called the verdict form. That's the last piece of
             paper. That's the one that you all have in the jury room
             with you when you do your deliberations. You're going
             to go through the questions. And there will only be two
             questions, and the Number 1 question will be that
             fundamental, that very first, important one. You won't
             even get to Number 2 if you decide no, they have not
             carried their burden of proof to show that the wheelchair
             incident caused things happening two plus years later.
             And you will not hear that evidence.

[DE 288 at 133]. Thereafter Charles Fritz testified (via deposition) that he was going

up an incline and admitted that he sped up to make it over the “hump” but that when

the 310-pound Ms. McBride was falling out of the wheelchair he miraculously




                                           9
USCA11 Case: 22-13940       Document: 20      Date Filed: 02/22/2023   Page: 21 of 37



caught her with one hand while holding onto the wheelchair with the other and –

while reaching over the wheelchair - slowly lowered her to the ground:

             Q.    Were you speeding up to try to clear over the gap?

             A.     Yes, my pace did rise, I believe. I'm sorry, not
             really, but my pace did go up, yes.

             Q.    Okay. Why were you speeding up?

             A.    I was speeding up because the ramp is slanted, so
             in order to go up a hill you have to speed up. You have to
             speed up.

[DE 281 at 95].

             Like I said, I had one hand on the wheelchair. Like I had
             both hands on the wheelchair, then she proceeded to lean
             over, fall over, then I used one hand, I kept one hand on
             the wheelchair and my dominant hand on her to proceed
             her from falling over right here.

             At the time a couple of seconds passed and then I slowly
             released her as much as I can. Once I knew her feet and
             her knees were on the ground, that's when I released, let
             her go, and I also kept on one of my hands on the
             wheelchair to make sure it doesn't fall or tumble on her if
             the projectory {sic} was, like, you know, going to
             happen, you never know.

[DE 281 at 99]. Finally, in closing Carnival expressly argued that her injuries could

not have occurred on November 23, 2015 because of how Fritz Charles described

the accident – that he and Ms. McBride were creeping along “like a turtle.”

             So, Mr. Fritz's testimony makes complete sense and is
             quite credible because he described when it came to this
             idea of he was running with the wheelchair, of a woman,


                                         10
USCA11 Case: 22-13940        Document: 20      Date Filed: 02/22/2023   Page: 22 of 37



             with all due respect, at the time weighed approximately
             310 pounds. Now, Mr. Fritz, as we all have individual
             experiences, whether it's coming off a cruise ship or off
             of an airplane or a train, described that not only was I not
             going fast, he said, it was like a turtle or a snail.

[DE 281 at 166].

      Carnival’s expert medical witness admitted that at least Ms. McBride’s

$10,543.59 in medical expenses for the ambulance and treatment at Jackson

Memorial were directly caused by the accident. [DE 281 at 169]. Ms. McBride

sought entry of a partial directed verdict at the close of the evidence on the issue of

expenses for going to Jackson Memorial hospital because there was no dispute that

it was reasonable for her to obtain emergency evaluation after the fall. [DE 281 at

125-27]. Carnival opposed that motion and the trial court denied it. [DE 127]. In

what can only be described as gamesmanship, Carnival then stipulated to the jury in

closing argument that the jury should, after all, award her those expenses. [DE 281

at 169].

      On February 17, 2022 the jury would go on to award those exact damages and

nothing more, in its verdict. [DE 254 at 1-2]. It did not award any pain and suffering

despite Carnival admitting its fault in the accident and that it was liable for the

immediate consequences of the accident. [DE 254 at 1-2]. The trial court entered

judgment, technically for Plaintiff, in the amount of $10,543.59 the following day.

[DE 256].




                                          11
USCA11 Case: 22-13940           Document: 20    Date Filed: 02/22/2023   Page: 23 of 37



        Ms. McBride timely moved for new trial on March 18, 2022, arguing that the

erroneous admission of the Charles Fritz deposition and the inadequate verdict

(among other reasons) warranted relief. [DE 267]. Carnival opposed the motion.

[DE 272]. However, the Court below would not address any of the parties’

arguments. Rather, on October 25, 2022 it entered a “paperless order” (email only)

which reads, in its entirety:

              10/25/2022 283 PAPERLESS ORDER denying 267
              [sic] Plaintiff's Motion for New Trial. The Court's trial
              rulings were correct, and the jury's verdict was consistent
              with the evidence and the law. Signed by Judge Darrin P.
              Gayles (DPG) (Entered: 10/25/2022)

[DE 283].

        Ms. McBride timely perfected this appeal from that order on November 22,

2022.

                        SUMMARY OF THE ARGUMENT

        Ms. McBride’s position on appeal is succinct: the district court prejudicially

abused its discretion by admitting the deposition of Charles Fritz without any attempt

by Carnival to satisfy either Rule 32(a)(4) or the parties pre-trial stipulation; and the

failure of the jury to award any pain and suffering damages rendered the verdict

inadequate which requires a new trial as a matter of law.




                                           12
USCA11 Case: 22-13940        Document: 20       Date Filed: 02/22/2023   Page: 24 of 37



              ARGUMENT AND CITATIONS TO AUTHORITY

                               I.    Standards of Review

      A)     A district court’s decision on whether or not to admit deposition

testimony under Rule 32 is reviewed for abuse of discretion. See Cabello v.

Fernandez-Larios, 402 F.3d 1148, 1160 (11th Cir. 2005).

      B)     The standard for determining whether a verdict is so inadequate as to

require a new trial is whether it indicates passion, bias or prejudice on the part of the

jury. Hagen v. Hatcher, 35 F.3d 563, 1994 WL 500641 (5th Cir. 1994); Auster Oil

& Gas, Inc. v. Stream, 835 F.2d 597, 603 (5th Cir.1988). “This standard provides no

mathematical rule by which a trial court can assess a jury verdict in order to

determine its adequacy or inadequacy. Each case must be decided on its own facts[.]”

Hagen, Id.

                       II.    Rule 32 Prohibited the Reading of
                       Fritz Charles’s Deposition to the Jury

      Carnival was allowed to read the deposition of Fritz Charles, a non-party, as

substantive evidence in its case in chief over Plaintiff’s Rule 32 objection. The

district court ruled that Ms. McBride had somehow waived her right to object to use

of the deposition by waiting to object until the time Carnival sought to introduce it.

That ruling was an abuse of discretion as it violated both Rule 32 and the parties’

own stipulation as announced by Carnival on the record:




                                           13
USCA11 Case: 22-13940        Document: 20      Date Filed: 02/22/2023   Page: 25 of 37



             MS. ACUNA [Carnival’s counsel]: If he [Fritz] does not
             appear, Your Honor. What we have proposed, Your
             Honor, is that if the witness, despite good service, does
             not appear, that the parties would stipulate using his
             designated testimony and we have, in fact, already filed
             those with the Court in the abundance of caution.

      Foremost, Ms. McBride was under no obligation to object to the use of the

deposition until it was actually offered at trial. “[W]hether a party may offer

witness's deposition testimony in lieu of live testimony, is to be determined as of

the time at which the witness is called at trial.” Salomon Constr. & Roofing Corp.

v. James McHugh Constr. Co., 1:18-CV-21733-UU, 2019 WL 2107283, at *2 (S.D.

Fla. Mar. 21, 2019) (emphasis original). See also Estate of Thompson v. Kawasaki

Heavy Indus., Ltd., 291 F.R.D. 297, (N.D. Iowa 2013) (noting that assertions that

witness would be unavailable were “‘premature,’ because we will not know if these

conditions obtain at the time that [the witness's] deposition is offered until the

deposition is, in fact, offered.”) (citation omitted); Niver v. Travelers Indem. Co. of

Il., 430 F. Supp. 2d 852, 866 (N.D. Iowa, 2006) (citing, inter alia, Hartman v. United

States, 538 F.2d 1336, 1345 (8th Cir. 1976)); United States v. Int'l Bus. Machines

Corp., 90 F.R.D. 377, 383 (S.D.N.Y. 1981) (although, in protracted litigation, “the

time at which the deponent's location should be examined should extend beyond the

time of offering,” that examination was still limited to “any time during presentation

of proponent's case when a trial subpoena could have been served.”).




                                          14
USCA11 Case: 22-13940           Document: 20      Date Filed: 02/22/2023   Page: 26 of 37



         Rule 32(a)(4)1 of the Federal Rules of Civil Procedure governs the use of

depositions of non-parties as substantive evidence. Kreitman v. Florida Dep't of

Corr., 4:20CV371-MW/MJF, 2020 WL 12188711, at *2 (N.D. Fla. Nov. 30, 2020)

For a deposition to be read as substantive evidence, Rule 32 must be satisfied. Id.



1
    It provides, in pertinent part:

         Rule 32. Using Depositions in Court Proceedings

         (a) Using Depositions.
                                            ***

            (4) Unavailable Witness. A party may use for any purpose the
            deposition of a witness, whether or not a party, if the court finds:

                (A) that the witness is dead;

                (B) that the witness is more than 100 miles from the place
                of hearing or trial or is outside the United States, unless it
                appears that the witness's absence was procured by the
                party offering the deposition;

                (C) that the witness cannot attend or testify because of age,
                illness, infirmity, or imprisonment;

                (D) that the party offering the deposition could not procure
                the witness's attendance by subpoena; or

                (E) on motion and notice, that exceptional circumstances
                make it desirable--in the interest of justice and with due
                regard to the importance of live testimony in open court--
                to permit the deposition to be used.

Fla. R. Civ. P. 32(a)(4).



                                             15
USCA11 Case: 22-13940       Document: 20      Date Filed: 02/22/2023   Page: 27 of 37



(“However, if the deponent is a non-party, she must be unavailable for the deposition

to be used for any purpose other than for impeachment or another purpose allowed

by the Federal Rules of Evidence. Fed. R. Civ. P. 32(a)(4).”) (emphasis added).

“‘The restrictions imposed by Rule 32 make it clear that the federal rules have not

changed the long-established principle that testimony by deposition is less desirable

than oral testimony and should ordinarily be used as a substitute only if the witness

is not available to testify in person.’ 8AFed. Prac. & Proc. Civ. § 2142 (3d ed.).”

White v. United States, 8:11-CV-1355-T-33EAJ, 2013 WL 3422965, at *2 (M.D.

Fla. July 8, 2013). “If it is desired to use the deposition of a person other than an

adverse party for substantive evidence ... the conditions of Rule 32(a)(4) must be

satisfied.” 8A RICHARD L. MARCUS, FED. PRAC. & PROC. CIV. § 2146 (3d

ed. 2020) (emphasis added).

      The burden to establish that a provision of Rule 32 allows the reading of a

deposition rests squarely on its proponent. Swearingen v. Gillar Home Health Care,

L.P., 759 F. App'x 322, 324 (5th Cir. 2019); Fairfield 274–278 Clarendon Trust v.

Dwek, 970 F.2d 990, 995 (1st Cir.1992); In re Transcon. Energy Corp., 683 F.2d

326, 330 (9th Cir. 1982); Kraese v. Jialiang Qi, CV417-166, 2020 WL 4016250, at

*2-3 (S.D. Ga. July 16, 2020); Culebra II, LLC v. River Cruises & Anticipation

Yachts, LLC, 564 F. Supp. 2d 70, 79–80 (D. Me. 2008); Santana v. Mack, 889 F.




                                         16
USCA11 Case: 22-13940        Document: 20      Date Filed: 02/22/2023   Page: 28 of 37



Supp. 223, 226 (D.V.I. 1995); 7 James Wm. Moore, Moore's Federal Practice §

32.24[5] (2006).

      At trial, Carnival conceded that it took no steps to subpoena Charles Fritz and

had no idea whether he was available. However, it and the district court agreed - not

that Carnival had complied or could comply with Rule 32 - but that Plaintiff waived

the opportunity to object by participating in the conference on the parties’ objections

to the designation of deposition excerpts (the district court took particular exception

to the fact that it had spent an hour on the objections after trial the night before).

This was an abuse of discretion.

      The timing of objections to the use of depositions under Rule 32 is governed

by Rule 26(a)(3)(B). At the time the parties designated excerpts from and made

objections to the Charles deposition Defendant still had Charles listed as a witness

it would call live at trial, [DE 138], as did Plaintiff. [DE 122-3]. The obligation to

object to the use of a deposition at trial arises only when the adverse party files a

Rule 26(a)(3) Pre-Trial Disclosure identifying its witnesses who will be called by

deposition, which disclosure “must be made at least 30 days before trial.”

Fed.R.Civ.P. 26(a)(3)(A), (B) (emphasis added). Only then does the obligation arise

for the adverse party “[w]ithin 14 days after [the disclosures] are made,.. to serve

and promptly file a list of… any objections to the use under Rule 32(a) of a

deposition designated by another party[.]” Fed.R.Civ.P. 26(a)(3)(B). If no such




                                          17
USCA11 Case: 22-13940       Document: 20      Date Filed: 02/22/2023   Page: 29 of 37



objection is made, then and only then does that adverse party “waive[]” “an objection

not so made.” Id.

      Which brings up the crucial point: Carnival did not make a Rule 26(a)(3)(A)

disclosure that it intended to call Fritz by deposition until March 7, 2020 [DE 186]

(Defendant’s Second Amended Witness List). This was only two (2) days before

trial then set for March 9, 2020, see [DE 165] (Scheduling Order); and forty (40)

days after the Court-imposed January 26, 2020 deadline to file the Pre-Trial

Stipulation. [DE 165] at 3. This disclosure was patently untimely. In other words,

Carnival’s Rule 26(a)(3) disclosure that it would read Fritz Charles’s deposition was

a nullity because it was filed untimely, without leave of court. See Bolton v. WJV

Mississippi, Inc., CIV.A. 08-0310-WS-M, 2011 WL 482817, at **3-5 (S.D. Ala.

Feb. 7, 2011) (party waived opportunity to move in limine against expert opinions

by waiting until one week after the court-ordered deadline to submit its challenge);

Rule 37(c) (“If a party fails to provide information or identify a witness as required

by Rule 26(a) or (e), the party is not allowed to use that information or witness to

supply evidence on a motion, at a hearing, or at a trial, unless the failure was

substantially justified or is harmless.”).2 As such, Ms. McBride had neither


2
  The very language of Rule 37(c)(1) offers only the two exceptions to the general
rule excluding evidence that a party seeks to offer but has failed to properly
disclose—when the failure to disclose is substantially justified and when the
nondisclosure is harmless. The burden is on the non-disclosing party to show
harmlessness or justification. Southern States Rack & Fixture, Inc. v. Sherwin-


                                         18
USCA11 Case: 22-13940        Document: 20      Date Filed: 02/22/2023   Page: 30 of 37



obligation nor 14-day opportunity to object to the use of the deposition under Rule

32; the exclusion of testimony and information was a proper sanction in connection

with a Rule 26(a) violation. See Nelson-Salabes, Inc. v. Morningside Development,

LLC, 284 F.3d 505, 512, fn. 10 (4th Cir. 2002) (Fourth Circuit held district court did

not abuse its description when it excluded some of defendant's evidence as a sanction

for untimely disclosure).

      Admission of the Fritz deposition was unduly prejudicial as he profoundly

contradicted Ms. McBride’s account of the accident. Whereas Ms. McBride and Ms.

Evans both testified that she was thrown from the wheelchair going at speed down

an inclined ramp, Fritz testified that he was going uphill “like a snail”, that somehow

Ms. McBride magically flew up and out of the wheelchair and that he magically

caught this 310-pound woman by her shirt with one hand, stopped her forward

progress, and then only gently dropped her to the ground. Carnival then argued in

closing argument that the force of that “gentle” fall could not possibly have injured

her. The jury should have been allowed to see and hear Fritz tell his story of super-

human strength & leverage and to assess his credibility: “[t]he Federal Rules of Civil

Procedure likewise display a ‘decided preference for live testimony in open




Williams Co., 318 F.3d 592, 596 (4th Cir. 2003). Needless to say, Defendant made
no showing of a Rule 37 exception to justify admission of the Fritz deposition.



                                          19
USCA11 Case: 22-13940      Document: 20      Date Filed: 02/22/2023   Page: 31 of 37



court.’” Hamprecht v. Hamprecht, No. 2:12–cv–125–FTM–29, 2012 WL 1367534,

at *2 (M.D.Fla. Apr.19, 2012) (citation omitted).

            The Federal Rules of Civil Procedure provide explicit
            guidance on when deposition testimony may be used in
            lieu of live testimony: Rule 32 expressly governs “[u]sing
            [d]epositions in [c]ourt [p]roceedings.” Fed. R. Civ. P. 32.
            Before examining the specific application of the Rule, it is
            important to note that “live witness testimony is
            axiomatically preferred to depositions....” McDowell v.
            Blankenship, 759 F.3d 847, 852 (8th Cir. 2014); see also,
            e.g., Banks v. Yokemick, 144 F. Supp. 2d 272, 288
            (S.D.N.Y. 2001) (“The general rule is that testimony at all
            trials must be live.”); Bobrosky v. Vickers, 170 F.R.D. 411,
            413 (W.D. Va. 1997) (“Rule 32 assumes that under
            normal circumstances the deposition of a witness
            will not be used at trial in lieu of that witness's live
            testimony.”); cf. Napier v. Bossard, 102 F.2d 467. 469 (2d
            Cir. 1939) (“The deposition has always been, and still is,
            treated as a substitute, a second-best, not to be used when
            the original is at hand.”). Given the clear preference for
            live testimony, the party seeking to substitute
            deposition bears the burden of establishing the
            exception. See, e.g., Swearingen v. Gillar Home Health
            Care, L.P., 759 F. App'x 322, 324 (5th Cir. 2019) (“The
            party who wishes to use the deposition has the burden of
            showing the unavailability of the witness.” (citation
            omitted)).

Kraese, 2020 WL 4016250, at *3 (footnote omitted, bold emphasis added).

      Ms. McBride was under no obligation to object to the reading of the Charles

deposition until the time that the deposition was offered. She respectfully submits

that the district court’s finding of waiver contradicts Rules 26 and 32; that the




                                        20
USCA11 Case: 22-13940           Document: 20     Date Filed: 02/22/2023   Page: 32 of 37



admission of the Fritz deposition constitutes a prejudicial abuse of discretion, and

that she is therefore entitled to a new trial.

                         III.     The Verdict Is Inadequate And
                                Thus Requires A New Trial

       The jury awarded Plaintiff economic damages flowing immediately from the

fall (emergency room care, ambulance charges, etc.) but did not award any non-

economic damages such as pain and suffering. The verdict is therefore inadequate

as a matter of law and requires a new trial on damages.

          [T]he evidence must support a jury's zero-dollar award for it to
          stand. And where “the evidence is undisputed or substantially
          undisputed that a plaintiff has experienced… pain and suffering
          as a result of an accident, a zero award for pain and suffering is
          inadequate as a matter of law.” Ellender v. Bricker, 967 So. 2d
          1088, 1093 (Fla. 2d DCA 2007) (quoting Dolphin Cruise Line,
          Inc. v. Stassinopoulos, 731 So. 2d 708, 710 (Fla. 3d DCA 1999)).
          In Ellender, for example, the Second District considered a
          situation where doctors testified that the plaintiff suffered back,
          neck, shoulder, and headache pain from his accident-related
          injuries. Id. at 1092 Although the plaintiff had suffered a prior
          lower back injury that could have contributed to his pain, he
          didn't have a preexisting neck issue. Id. The jury found that the
          plaintiff had suffered injuries requiring post-accident treatment
          and pain management and yet awarded no past noneconomic
          damages. Id. at 1093. Under those circumstances, then-Judge
          Canady wrote that the zero-dollar noneconomic verdict had to be
          reversed: “the jury's failure to award even nominal past
          noneconomic damages was not supported by the weight of the
          evidence and must be reversed.” Id. (quoting Allstate Ins. Co. v.
          Campbell, 842 So. 2d 1031, 1034-35 (Fla. 2d DCA 2003)); see
          also Ramey v. Winn Dixie Montgomery, Inc., 710 So. 2d 191, 193
          (Fla. 1st DCA 1998) (finding a zero-damages award to be
          unreasonable in view of the evidence).




                                            21
USCA11 Case: 22-13940       Document: 20       Date Filed: 02/22/2023   Page: 33 of 37



                                         ***
         We thus reverse and remand the order denying the motion for
         additur or new trial as to the past pain and suffering award.

Rozar v. R. J. Reynolds Tobacco Co., 292 So. 3d 1202, 1207 (Fla. 1st DCA 2020).

      “The trial judge in the federal system…has ... discretion to grant a new trial if

the verdict appears to [the judge] to be against the weight of the evidence. This

discretion includes overturning verdicts for excessiveness and ordering a new trial

without qualification, or conditioned on the verdict winner's refusal to agree to a

reduction (remittitur).” Gasperini v. Ctr. for Humanities, Inc., 518 U.S. 415, 433

(1996); see also Dimick v. Schiedt, 293 U.S. 474 (1935) (recognizing that remittitur

withstands Seventh Amendment attack but rejecting additur as unconstitutional such

that the only remedy for an inadequate verdict is a new trial). “[T]he court has power

to act upon a motion to set aside the verdict of a jury because inadequate or

excessive, and in its discretion to grant or deny a new trial. New York C. & H.

Railroad Co. v. Fraloff, 100 U.S. 24 []; Wilson v. Everett, 139 U.S. 616, 621 [];

Lincoln v. Power, 151 U.S. 436 [].” Dimick, 293 U.S. at 488 (Stone, J. dissenting).

“A district court in its discretion may set aside an excessive or inadequate jury

verdict and order a new trial.” Sentry Indem. Co. v. Peoples, 856 F.2d 1479, 1481

(11th Cir. 1988); see also Millennium Partners, L.P. v. Colmar Storage, LLC, 494

F.3d 1293, 1303 (11th Cir. 2007). “A federal court may grant a new trial because of

an inadequate verdict, but it may not increase the damages above those awarded by




                                          22
USCA11 Case: 22-13940       Document: 20      Date Filed: 02/22/2023   Page: 34 of 37



a jury, either directly or by use of an additur.” Metcalf v. Campbell, 4:07CV73-

RH/WCS, 2008 WL 11463694, at *4 (N.D. Fla. Mar. 19, 2008) (quoting 11 Charles

Alan Wright et al., Federal Practice and Procedure: Civil § 2816, at 172 (2d ed.

1995).

      In a personal injury action where liability is established, an award of medical

bills without even a nominal award of pain and suffering is inadequate as a matter

of law and requires a new trial on damages. McRay v. Peachey, CIV. A. 06-2794,

2009 WL 249772, at *10 (E.D. La. Feb. 2, 2009); Westminster Cmty. Care Services,

Inc. v. Mikesell, 12 So. 3d 838, 841–42 (Fla. 5th DCA 2009); Sanchez v. Hernandez,

971 So. 2d 944, 945 (Fla. 3d DCA 2007); Scott v. Sims, 874 So.2d 21, 22 (Fla. 1st

DCA 2004); Broward County Sch. Bd. v. Dombrosky, 579 So.2d 748, 49–50 (Fla.

4th DCA 1991). See also, e.g., Fla. Stat. § 768.74(4) (Florida’s additur statute).

“[W]e conclude that the denial of any damages for pain and suffering, despite

uncontradicted evidence of pain and the award of all of her medical expenses,

resulted in an inadequate verdict as a matter of law.” Aymes v. Auto. Ins. Co. of

Hartford, Connecticut, 658 So. 2d 1246, 1247 (Fla. 4th DCA 1995).

      Such is the case at bar. That Ms. McBride fell to the ground from the

wheelchair incurring immediate pain and suffering and requiring immediate medical

attention was undisputed, and Carnival admitted liability therefore in closing

argument. Its own doctor testified that Ms. McBride suffered soft tissue injuries that




                                         23
USCA11 Case: 22-13940       Document: 20      Date Filed: 02/22/2023   Page: 35 of 37



required medical treatment. Yet, the jury awarded her only the economic damages

immediately ensuing the accident, without awarding her any pain and suffering.

Such a verdict cannot stand.

      The situation was exacerbated by the fact that the district court denied Ms.

McBride’s motion for directed verdict on these precise damages. On February 16,

2022, after the close of Carnival’s case, Ms. McBride moved for directed verdict on

the ‘immediate damages.’ Carnival opposed the motion, and the Court denied it.

Yet, that same day in closing argument Carnival told the jury that they should award

the immediate damages. This allowed the jury to compromise by awarding Plaintiff

only the ‘immediate damages’ without either giving a defense verdict or awarding

all of Ms. McBride’s damages. While a not a true “compromise” in the sense that

only the causation aspect of liability was contested, the verdict never-the-less shows

that the jury considered matters outside the evidence in reaching its conclusion. “[A]

jury verdict influenced by an improper compromise cannot stand and a complete

new trial is required[.]” Collins v. Marriott Intern., Inc., 749 F.3d 951, 962 (11th

Cir. 2014) (quoting Burger King Corp. v. Mason, 710 F.2d 1480, 1488 (11th

Cir.1983)).

         We reverse and remand for a new trial as to the issue of damages.
         We find that only a jury of unreasonable persons would not have
         compensated Mrs. Watson for her pain and suffering, loss of
         earning capacity and future medical expenses. We can only
         conclude that the jury failed to consider all the elements of her
         damages. See Griffis v. Hill, 230 So.2d 143 (Fla.1970). As we


                                         24
USCA11 Case: 22-13940       Document: 20      Date Filed: 02/22/2023   Page: 36 of 37



         stated in Calloway v. Dania Jai Alai Palace, Inc., 560 So.2d 808
         (4th DCA 1990) (quoting Rivera v. Aldrich, 538 So.2d 1390,
         1392 (Fla. 3d DCA 1989)), “it is more than merely conceivable
         that the jury ‘interwove the issues and liability and damages on
         the jury form in an inconsistent way, suggestive of a compromise
         on liability, possible confusion on the law of damages, or both.’”
         Id. 560 So.2d at 810.

Watson v. Builders Square, Inc., 563 So. 2d 721, 722 (Fla. 4th DCA 1990).

      The failure to grant directed verdict also provided Carnival the unfair

advantage of admitting damages already granted by Carnival’s own expert and then

portraying itself to the jury as being reasonable. Carnival was not being reasonable

by “conceding” damages already established by the record. A directed verdict would

have placed the parties on even ground. Failure to grant directed verdict on

uncontested evidence unfairly prejudiced the Plaintiff and is grounds for a new trial.

                                  CONCLUSION

      WHEREFORE, Appellant/Plaintiff EARLENE McBRIDE respectfully

requests this Court to reverse the order denying her motion for new trial and to

remand for a new trial.

                                       Respectfully submitted,

                                 By:   Christopher J. Bailey

                                       Christopher J. Bailey
                                       Florida Bar No.: 42625
                                       2700 SW 27th Avenue, Ste. 702
                                       Coconut Grove, FL 33133-3058
                                       Phone: 305-495-8514
                                       Email: cjbailey@bailey-consulting.com


                                         25
USCA11 Case: 22-13940        Document: 20     Date Filed: 02/22/2023   Page: 37 of 37




                                              of Counsel to

                                       BILLERA LAW, PLLC
                                       Attorneys for Plaintiff/Appellant
                                       2201 NW Corporate Blvd., Suite 200
                                       Boca Raton, FL 33431
                                       Telephone: (561) 500-7777


                       CERTIFICATE OF COMPLIANCE

         I CERTIFY that this document complies with the Federal Rule of Appellate

Procedure 32(a)(7)(B) in that it is was prepared using Microsoft Word in a

proportionally spaced typeface (Times New Roman, 14-point font) and measures

__6,186__words, excluding the parts of the document exempted by Fed. R. App. P.

32(f).




                                         26
